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                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                    Plaintiff,

             vs.

MICHAEL JOHN BATT,
                                                              INDICTMENT
                  Defendant.
_________________________________/

      The Grand Jury charges:

                                      COUNT 1
          (Sexual Exploitation and Attempted Sexual Exploitation of a Child)

      On or about September 19, 2022, in Ottawa County, in the Southern Division of

the Western District of Michigan,

                                 MICHAEL JOHN BATT

knowingly used and attempted to use a minor to engage in sexually explicit conduct for

the purpose of producing any visual depiction of such conduct, and such visual depiction

was produced using materials that had been mailed, shipped, and transported in and

affecting interstate and foreign commerce and transmitted using any means or facility of

interstate or foreign commerce or in or affecting interstate or foreign commerce.

      Specifically, the defendant used and attempted to use Child 1, who was

approximately three years old, to engage in the lascivious exhibition of Child 1’s genitals

or pubic area for the purpose of taking photographs of the conduct. The defendant
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created the images using an Apple iPhone, which was manufactured in China, and

transmitted the images using an internet-based messaging application.


18 U.S.C. § 2251(a) and (e)
18 U.S.C. § 2256(8)(A)
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                                       COUNT 2
                          (Distribution of Child Pornography)

      On or about September 20, 2022, in Ottawa County, in the Southern Division of

the Western District of Michigan, and elsewhere,

                               MICHAEL JOHN BATT

knowingly distributed child pornography using any means or facility of interstate or

foreign commerce. Specifically, the defendant distributed one or more of the following

images of child pornography through an internet-based messaging application:

      1. 93AC18C2-690C-4737-B224-45746DAD6C8E.jpeg

      2. 4FA535E1-C8CB-46A3-A74A-2BCF5753AA0A.jpeg

      3. 998415F3-ABFF-48E1-A42B-5188EF7B2948.jpeg

      4. BC0F1C10-1DC8-4FAB-8EC3-CDE2CFE21B28.jpeg


18 U.S.C. § 2252A(a)(2)(A) and (b)(1)
18 U.S.C. § 2256(8)(A)
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                             FORFEITURE ALLEGATION

       The allegations contained in Counts 1 and 2 of this Indictment are hereby realleged

and incorporated by reference for the purpose of alleging forfeitures pursuant to 18

U.S.C. § 2253. Pursuant to 18 U.S.C. § 2253(a), upon conviction of an offense in violation

of 18 U.S.C. §§ 2251 or 2252A,

                                 MICHAEL JOHN BATT

shall forfeit to the United States of America any visual depiction described in 18 U.S.C.

§§ 2251 or 2252A; any matter which contains any such visual depiction that was

produced, transported, mailed, shipped, and received in violation of Title 18, United

States Code, Chapter 110; any property, real or personal, constituting or traceable to gross

profits or other proceeds obtained from the offenses; and any property, real or personal,

used or intended to be used to commit or to promote the commission of the offenses or

any property traceable to such property. The property to be forfeited, as to all counts,

includes, but is not limited to, an Apple iPhone 12 Pro, IMEI No. 350522076471100, that

was seized from the defendant’s residence on September 20, 2022.


18 U.S.C. § 2253
18 U.S.C. § 2251
18 U.S.C. § 2252A
18 U.S.C. § 2256(8)(A)
21 U.S.C. § 853
28 U.S.C. § 2461(c)
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                                      A TRUE BILL


                                      __________________________________________
                                      GRAND JURY FOREPERSON

MARK A. TOTTEN
United States Attorney


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PATRICK J. CASTLE
Assistant United States Attorney
